        Case 2:21-cv-20456-CCC-ESK Document 12 Filed 06/01/22 Page 1 of 2 PageID: 227

        USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.
             Case 2:21-cv-20456-CCC-ESK Document 10-2 Filed 04/19/22 Page 2 of 2 PagelD: 224
   U.S. Department of Justice                                                                           PROCESS RECEIPT AND RETURN
   United States Marshals Service                                                                       See "/11.,rrucdo11.v fin Sc II h.< o/ P"" t:S., b1 L'.S. Mai rh.,/"

    Pl AINTIFF                                                                                                                                l ('OUR 1 C' ASE NUMBER
    ZENA L POWELL                                                                                                                                  2:2 I-CV-20456-CCC-ESK
    IJl'HND.\NT                                                                                                                                    TYPI 01· PROCI-SS
    CLOUD KITCHENS & OHER INC.                                                                                                                     SUMMONS & COMPLAINT
                           NA~11· OF INDl\'IDt:AI ,CO,\(l'A'IY,( ORPOR ,., ION Ere IOSER\'l,OR DESCRll'JION OJ PROP( Rf) ro SEl/1 OR CONDI ~IN

        SERVE              CLOUD KITCI IENS INC OBA BEL LLC
           AT        {     ADDR[SS (Stret'I or RFD. Ap11r1mm1 l\'o Cm Swr,· ,111,/ ZIP C<xl,,

                           rn s. FIGUEROA ST SUITE 4100, LOS ANGELES, C.A., 90017-5841
    SI ND NOT_lC_F_O_l_'S-l-'RVICI'       COPY 10 REQ.. I isr1 R ,\T K\MI:. ,\ND ADDRESS IIFLO\\'                                        - - - - - - - ~ - ...... ~ -
                                                                                                                                         Number of process to be    · 1
                                                                                                                                                                                                                          1
                                                                                                                                         s..ns-d with this Fonn 285   '.,                                                  ~:


                    r-;NA L. POWELL                                                                                                      Numb.:r of parties 10 Ix·
                     20 HOWARD DRIVE APT. V                                                                                              ,;.,r,·ed in thi, ca,,<."                             2
                     BERGENFIELD, N.J., 07621
                                                                                                                                         Check for ,-.,r, IC.:
                    L                                                                                                                    on!' SA

        SPl·Cl.-\1. INSTRLCI IONS OR Ollll·R INl'ORM ,\1 ION 111 \ I \\ II.I. ,\SSISl IN I \l'ElJrt ING SFR \'I( I (lnrl11dc 811.<ina, ,mdd{ternate Adth'l-s.,.-,.
        All Tefep/rone 1\"11mber.<, a11d Esti111a1,•d Times ,h-ailable fi,r Sen·ic:t!):
f,.jJ


         Attention law department for Cloud Kitchens, Inc.




    S1gnatun: of ,\llo1:1c~ u-U1~·r Or1g111atm r~,1ui:stm¥ Sccrncc on hdulfof                           ~ l'I ,\l'\l 111                                                                        ll-\11

                         JflJt.a, L             /Je;~                                                   lJ   lll·I f.l\'.IJ.\NI      201-374-2159                                                  4 19 22

         SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRJTE BELOW THIS LINE
    I acl.nowk,l~c n:cci11t for the 101al          rotal Proc<."SS     Dt~tnCI nf       ll1slrit.t to         ,;,gnatun: of ,\uthonL,'t.l I •Sr>IS l.lcput~ or< krl.                                          Date
    11111111>,:r or 1,mcc-ss imhcaled.
    /.\"1;:1• 011/, fi.,r US.If ::,u i(nw,v
    1/w,. ,,,,_. l/S.\f J85 i$ subm,uecl;
                                                      2
                                                                       Ongm

                                                                       !'so.
                                                                                        s~n·\,!

                                                                                        :-;,, I 7
                                                                                                                 t.1           ild-J                                                                          ~Y-h 22.
                                                                                                                    ····--··


    I hereb) cenify and rctum that I [ J ha,c p,:i,,on.illy scrv.:d ,0 havc ktal c, 1<kncc of scr. ice, 0 ha,·e c.,,cutcd a, shcmn iu "lk111,1rl.s", the proc<."sS dc,cribcd
    on the md1,-i<lu.il , company. corporatmn. etc .. at the a<l<lrcss ,hown ab,wc 1111 the on the md" idual, company, CO'l'Or:tlion, etc shown at tl1c addn:ss mscncd hclo\\

            I hcn:by ccnity and return that I am unablc to lo.;atc the m,lu 1du.~I. compan). corporation. etc named aOt.l\C 1Sce r,•marJ.., bdou')
    Naml.' and title of indi .. idual s,:r,·cd (/(1101 <hm,·11 af>owJ
                                                                                                                                                      □       i\ pc™1n of suitable age ,md dtscrctl<ln
                                                                                                                                                              then resi,hng m defoml.lnfs usual plau:
                                                                                                                                                              of;1bodc
    Addrc"SS /COJIIJJ/ei<' 011{r dl(Jerel/11/um .>li1J1rn u/,,11·,•1                                                                                   natl.'                                  Timc
                                                                                                                                                                                                                      (lam
                                                                                                                                                        5/;thz                                 /'-(-'oo               ~pm

                                                                                                                                                       S1i:nat11n:ofU.S \ t a r s ~ ~ - -
                                                                                                                                                          ,:::__.-·-C-----
    Scr.·icc l'cc           Total Mikag<' C'hargc-s Fo,wanhng Fe<."                 Total Chafl_!s'>           ·\d,ancc Dcpos1t.s         ,i 1 1   '",1,,.,
                                                                                                                                                                ,.     I                  ..
                            includmg endearnrs)                                                                                           \J<j       1 l, /
                                                                                                                                                                                     .)
                                                                                                                                                                                                   '

                                                                                                                               ~                                               $0.00
    Rl/.1,\RKS:          fwt-:, toe/CA        D..,., f/1J/').l @ /]c,o (,...-_: ft-..<- bvf,'.....c..ff                                                              ...... ""' .!   c lo red.. «I- l-i-<_4✓~c.f/
        p,,,v   plcJ,     C)lA.rt,I/JJ..@ /)ool..; )> ,t.L,.(. Savi' ,fy CjvW/c,/ s--f.,.kc-1 .-\0                                                                   0 CA<-          ._...,CJ       .r   J.C,J'   C(~

    . fl,..(__   r../41,':..![!.vo. _,)-e..o/, .       _ . _____     .. __             ...   . ___ _
    laQUGifiPih 2.I. Cl.ERK OF TIIE COURT
                     USMS RECORD
                                                                                                                                                                            PRIOR 1:.DIIIO'-IS M.-\Y Bl lSl:D

                                3 NOTl(F 01' SF.R\'ICI·
                                4 HILLING ST,\TEl\llNP: To b.: n:tumcd 101he t ::,. l\larshal \\ith payment,
                                  ifan) amount is 0\\Cd. l'kas.: n:mit prompt!) pay;1bk to US 1-tm,hal.                                                                                                           lonll I ·sM-2115
                                5 ,\C'KKOW!.EDGt\11:NT OF RECFll'l                                                                                                                                                     H~v. 12 kO
   Case 2:21-cv-20456-CCC-ESK Document 12 Filed 06/01/22 Page 2 of 2 PageID: 228


            Case 2:21-cv-20456-CCC-ESK Document 1 Filed 12/10/21 Page 8 of 8 PagelD: 8

AO 440 (Rev, 06/12) SummOIIS in a Civil Ac:tion (Page 2)

 Civil Action No.

                                                          PROOF OF SERVICE
                        (Tl,is section sl,au/d not be flied with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (name ofi11divid11al t111d title, ifa11y)
 was received by me on (date)              5" ·/ "1,• 2    '2

           0 I personally served the summons on the individual at (place)
                                                                                      on (date)                              ; or
          --------------------                                                                     --------
           0 I left the summons at the individual's residence or usual place of abode with (11ome)
                                     person of suitable age and discretion who resides there,
                                                                   ,a
          ---------------
          on        , and mailed a copy to the individual's last known address; or
               (date)
                         -------
           0 I served the summons on (11ame ofi11divid11a/J                                                                             , who is
            designated by law to accept service of process on behalf of (11a111c oforgcu1iza1io11)
                                                                                       on (dare)                             ; or

          "f I returned the summons unexecuted because -~-•--o'-.-\..L
                                                                  __"""'U--',-,:;_....co.:...;"'--'-K--S-"--____9=--/'--------_ __           ; or

           CJ Other(specifyJ:           -rfA-c.. ~r~ (                             prd.J~e:R......t::I.

            My fees are S                            for travel and S                      for services, for a total of $            0.00


            I declare under penalty of perjury that this infonnation is true.


 Date:                                                             _/L~                            Sen·e,- 's slgnalllre


                                                                                               Pri111ed name and title




                                                                        ?7'7.f'.   r-,-,~,~-~            5.,.- Sl.#•·1, o/1•~~       t....111-J,,,re.~.   '°°'?
                                                                                                   Server's address

 Additional information regarding attempted service, etc:
